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    6 Attorneys for Plaintiffs MARCUS VAUGHN, S.J., a minor, by and through her
      guardian ad litem Tiassa Powell; D.J.A, a minor, by and through his guardian ad
    7 litem Tiassa Powell, and HAROLD HORNE
    8
                              UNITED STATES DISTRICT COURT
    9
                            CENTRAL DISTRICT OF CALIFORNIA
  10
  11
        MARCUS VAUGHN; S.J., a minor, by           Case No. CV 16-03086 AB (AJWx)
  12    and through her guardian ad litem
        Tiassa Powell; and D.J.A, a minor, by      [Honorable Andre Birotte, Jr.]
  13
        and through his guardian ad litem
  14    Tiassa Powell, in each case individually   JOINT STIPULATION TO DISMISS
        and as a successor in interest to Redel    CASE WITH PREJUDICE (FRCP 41
  15    Jones, deceased; and HAROLD                (a)(1)(A)(ii)
  16    HORNE, individually,

  17                Plaintiffs,
  18
              vs.
                                                   [[Proposed] Order filed concurrently
  19
     CITY OF LOS ANGELES; BRETT                    herewith]
  20 RAMIREZ; and DOES 1-10, inclusive,
  21
               Defendants.
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                                  JOINT STIPULATION TO DISMISS ACTION
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    1        TO THIS HONORABLE COURT, it is hereby stipulated by and between
    2 the parties through their respective counsel of record, that Plaintiffs Marcus Vaughn,
    3 Sicare Jones, D’Artagnan Jones-Alexander, and Harold Horne, hereby move to
    4 dismiss all claims against all defendants, with prejudice, pursuant to Fed. R. Civ.
    5 Proc., Rule 41(a)(1)(A)(ii). This dismissal with prejudice includes all known and
    6 unknown claims and an explicit waiver of California Civil Code Section 1542. Each
    7 party is to bear their own attorney fees and costs.
    8        Further, Plaintiffs voluntarily waive their right to challenge the verdict
    9 entered in favor of all defendants and waive their right to file any post-trial motions
  10 and voluntarily waive their right to an appeal. In exchange for all of the above,
  11 Defendants voluntarily waive entry of judgment and voluntarily waive their right to
  12 seek costs.
  13         IT IS SO STIPULATED.
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  15 Respectfully submitted,
  16
  17 DATED: October 23, 2019               LAW OFFICES OF DALE K. GALIPO
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  19
  20                                       By                /s/ Dale K. Galipo
                                                Dale K. Galipo
  21                                            Melanie T. Partow
                                                Marcel F. Sincich
  22                                            Attorneys for Plaintiff

  23 DATED: October 23, 2019            MICHAEL N. FEUER, City Attorney
                                        THOMAS H. PETERS, Assistant City Attorney
  24                                    CORY M. BRENTE, Assistant City Attorney
  25
  26
                                                           /s/ Lisa Lee
                                         By: _________________________________
  27                                          LISA LEE, Deputy City Attorney
  28                                          Attorneys for Defendants LOS ANGELES
                                              POLICE DEPARTMENT, et al,
                                                  -1-
                                JOINT STIPULATION TO DISMISS ACTION
